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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 CRAIG CHIVERS and                              )
 ALICIA MICHELLE CHIVERS,                       )
                                                )
        Plaintiffs,                             )
                                                )
        v.                                      )      CAUSE NO.: 1:04-CV-394-TS
                                                )
 CENTRAL NOBLE COMMUNITY                        )
 SCHOOLS AND ITS EMPLOYEES,                     )
 GERALD WELLMAN and                             )
 BRIAN GILLESPIE,                               )
                                                )
        Defendants.                             )

                                      OPINION AND ORDER

        The Plaintiffs, Craig Chivers and Alicia Michelle Chivers, sued Central Noble Community

 Schools (the “School”) and high school principal Gerald Wellman (“Wellman”) in his official

 capacity for creating a sexually hostile environment in violation of Title IX of the Education

 Amendments of 1972, 20 U.S.C. § 1681 et seq. (“Title IX”). The Plaintiffs also asserted claims

 against the School and Wellman for negligent hire, retention, and supervision (Count II). The

 Plaintiffs added teacher Brian Gillespie (“Gillespie”) as a defendant to their claims of intentional

 infliction of emotional distress (Count III) and loss of consortium (Count IV).

        In a separate cause number, 1:05-CV-263, which was consolidated with this case, Alicia

 Michelle Chivers alleged that Gillespie violated 42 U.S.C. § 1983 when he sexually harassed her

 and created a sexually hostile education environment in violation of her constitutional right to equal

 protection.

        This matter is before the Court on motions for summary judgment filed by the School and

 Wellman [DE 61] on September 29, 2005, and by Gillespie [DE 63] on September 30, 2005. Also
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 before the Court is Gillespie’s Motion to Strike [DE 77] one of the Plaintiffs’ exhibits filed in

 opposition to summary judgment.



                                 PROCEDURAL BACKGROUND

         On October 21, 2004, Craig Chivers, individually and as parent and next friend of Alicia

 Michelle Chivers, filed a Complaint against the School and its employees, Wellman and Gillespie,

 for damages under Title IX. The Complaint alleged that the Defendants discriminated against

 Chivers on the basis of her sex when Gillespie sexually harassed her and Wellman and the School

 were deliberately indifferent to the harassment. The Complaint also set forth claims for negligent

 hire, retention, and supervision against Wellman and the School and for intentional infliction of

 emotional distress and loss of consortium against all the Defendants. On December 13, 2004,

 Gillespie filed his Answer, as did Wellman and the School.

         On December 17, 2004, Gillespie filed a Motion for Judgment on the Pleadings arguing that

 Title IX does not authorize a suit against an individual, but only against a program or activity that

 receives federal funding. In response, the Plaintiff filed a Motion to Amend Complaint. On January

 19, 2005, the Plaintiff’s Amended Complaint was filed adding Michelle Chivers, who had turned

 eighteen since the filing of the original complaint, as a Plaintiff and clarifying the claims against the

 Defendants. The Plaintiff clarified that its Title IX case was against the School and against Wellman

 in his official capacity, not against Gillespie.

         On January 31, 2005, Gillespie answered the Amended Complaint. On June 6, the School

 and Wellman answered. On July 21, the Plaintiffs moved to again amend their Complaint to add a

 claim under § 1983 against Gillespie. The Defendant opposed the Motion and on July 25, the Court


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 denied the Plaintiffs’ Motion to Amend their Complaint. On August 2, 2005, Alicia Michelle

 Chivers filed a § 1983 Complaint in Cause Number 1:05-CV-263 against Gillespie for sexually

 harassing her and depriving her of her constitutionally protected right to equal protection. On

 September 16, that case was consolidated with the Plaintiffs’ previously filed case against the

 School, Wellman, and Gillespie.

        On September 22, Gillespie moved to amend his Answer to assert the defense of qualified

 immunity and on October 12 the Motion was granted. On September 29, the School and Wellman

 moved for summary judgment and on September 30, Gillespie also moved for summary judgment.

 On November 10, the Plaintiffs responded to the motions for summary judgment and on November

 28, the School and Wellman replied. On December 5, Gillespie replied and also filed a Rule 56

 Motion to Strike one of the Plaintiffs’ exhibits. The Motion to Strike was fully briefed on December

 14.



                             SUMMARY JUDGMENT STANDARD

        The Federal Rules of Civil Procedure mandate that motions for summary judgment be

 granted “if the pleadings, depositions, answers to interrogatories, and admissions on file, together

 with the affidavits, if any, show that there is no genuine issue as to any material fact and that the

 moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). Rule 56(c) further

 requires the entry of summary judgment, after adequate time for discovery, against a party “who

 fails to make a showing sufficient to establish the existence of an element essential to that party’s

 case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477

 U.S. 317, 322 (1986). “[S]ummary judgment is appropriate—in fact, is mandated—where there are


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 no disputed issues of material fact and the movant must prevail as a matter of law. In other words,

 the record must reveal that no reasonable jury could find for the non-moving party.” Dempsey v.

 Atchison, Topeka, & Santa Fe Ry. Co., 16 F.3d 832, 836 (7th Cir. 1994) (citations and quotation

 marks omitted). “‘Only disputes over facts that might affect the outcome of the suit under the

 governing law will properly preclude the entry of summary judgment. Factual disputes that are

 irrelevant or unnecessary will not be counted.’” Abrams v. Walker, 307 F.3d 650, 653 (7th Cir.

 2002) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

        In viewing the facts presented on a motion for summary judgment, a court must construe all

 facts in a light most favorable to the non-moving party and draw all legitimate inferences in favor

 of that party. NLFC, Inc. v. Devcom Mid-Am., Inc., 45 F.3d 231, 234 (7th Cir. 1995); Doe v. R.R.

 Donnelley & Sons Co., 42 F.3d 439, 443 (7th Cir. 1994). A court’s role is not to evaluate the weight

 of the evidence, to judge the credibility of witnesses, or to determine the truth of the matter, but

 instead to determine whether there is a genuine issue of triable fact. Anderson, 477 U.S. at 249–50;

 Doe, 42 F.3d at 443.



                                      MOTION TO STRIKE

        In response to Gillespie’s Motion for Summary Judgment, Chivers submitted Exhibit 16 to

 her deposition. Exhibit 16 is a summary Chivers prepared describing some of Gillespie’s conduct

 that she believed to be inappropriate. Chivers wrote the summary in response to Principal Wellman’s

 request to provide a written account of the events that she first complained to him of on October 6,

 2003. Chivers provided this summary to Wellman on or about October 10, 2003.

        Gillespie moves to strike the summary, arguing that it is: (1) inadmissible hearsay; (2) an


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 unsworn statement; (3) unauthenticated; and (4) speculative. Chivers responds that there is sufficient

 evidence before the Court that identifies and authenticates the summary. She notes that Exhibit 28

 to the School and Wellman’s Motion for Summary Judgment is the same summary that Gillespie

 moves to strike from her submissions. She also submits that Gillespie has attached a transcript of

 Chivers’s unsworn testimony to the Indiana State Police and Noble County Prosecutor, which

 includes Chivers’s testimony about the same incidents she cited in the summary. Chivers also asserts

 that she answered questions, during her deposition and while under oath, regarding the incidents set

 forth in the summary. Additionally, the Plaintiff supplements the record with her Affidavit, which

 she claims she would have filed with her Statement of Genuine Issues had the School and Wellman

 not already submitted Chivers’s summary as part of its evidence in support of summary judgment.

 In her Affidavit, Chivers states that the summary is a true and accurate statement of conversations

 Gillespie had with her before she complained to Wellman. Chivers also clarifies her perception of

 some of the events described in the summary.



 A.      Hearsay

        “[H]earsay is inadmissible in summary judgment proceedings to the same extent that it is

 inadmissible in a trial.” Eisenstadt v. Centel Corp., 113 F.3d 738, 742 (7th Cir. 1997). Federal Rule

 of Evidence 802 generally bars the admission of hearsay (a statement, other than one made by the

 declarant while testifying at the trial or hearing, offered in evidence to prove the truth of the matter

 asserted). However, Rule 801 defines some statements as non-hearsay, and Rules 803 and 804 list

 exceptions to the hearsay rule.

        The summary, which contains Gillespie’s purported statements to Chivers, is not hearsay.


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 First, the statements contained in the summary are not offered for the truth of the matters asserted;

 they are offered as evidence of what Gillespie said, not whether what he said was true. Second, the

 statements were made by Gillespie himself, a party to the lawsuit. See Fed. R. Evid. 801(d)(2)

 (admission by party-opponent is not hearsay).



 B.      Sworn Statements and Authentication

        The summary, although itself not a sworn statement, was attached to Chivers’s deposition.

 Chivers’s deposition testimony was given under oath. In addition, Chivers authenticated the

 summary with her Affidavit. Nevertheless, still pressing his argument to strike the summary,

 Gillespie contends that it was not authenticated by materials specifically designated by Chivers in

 her Statement of Genuine Issues, as required by Local Rule 56.1 and that Chivers’s Affidavit was

 not timely and must also be stricken.

        Although it is true that Chivers did not designate the evidentiary materials that authenticate

 Exhibit 16, this evidence was subsequently brought to the Court’s attention in response to the

 Motion to Strike. In response to the Motion to Strike, Chivers cited to specific pages of her

 deposition and presented an Affidavit. Thus, the Court is not required to scour the record, an entire

 deposition, or other lengthy exhibit to find the evidence that authenticates the summary. In addition,

 it is this Court’s experience that in summary judgment practice, it is not unusual for parties to submit

 unauthenticated documents, especially where the side offering them has no reason to expect a

 dispute over authenticity. If an objection is raised, the offering party often tries to cure the problem

 with a supplemental affidavit. Here, Chivers did not expect a dispute over authentication because

 the other Defendants, the School and Wellman, already submitted Exhibit 16 in support of their own


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 Motion for Summary Judgment. When Gillespie did challenge the Exhibit, Chivers filed the

 appropriate affidavit. For all the above reasons, and because Gillespie has had fair opportunity to

 respond to the evidence and argue the merits of Exhibit 16’s admissibility, the Court declines to

 strike the Affidavit as untimely and finds that Exhibit 16 has been authenticated.



 C.     Speculation

        Gillespie’s challenge to the admissibility of the Exhibit on the grounds that it, by its own

 language, is speculative, also fails. Chivers’s summary provides the screen names that Gillespie

 used, “remembered as accurately as possible.” Chivers did not speculate as to the screen names

 Gillespie may have used, but remembered them as accurately as possible from first hand experience.

 This caveat may affect the weight of the evidence, which the Court does not consider on a motion

 for summary judgment, but it does not render the Exhibit inadmissible.

        Gillespie’s Motion to Strike is denied and the Court will consider the statements contained

 in Exhibit 16 to Chivers’s deposition.



                                     STATEMENT OF FACTS

        In Fall 2003, Alicia Chivers was a seventeen-year-old junior at Central Noble High School.

 Her parents, Craig and Sandra Chivers, were divorced and Chivers was living with her father.

 Gillespie was a thirty-two-year-old math teacher and the boys’ tennis coach at the School. Chivers

 was in Gillespie’s trigonometry class during the 2003 fall semester and was also the manager of the

 tennis team coached by Gillespie.

        In September, Chivers sent Gillespie an e-mail to tell him that she could not attend a tennis


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 match because of a conflict with her job. After this e-mail, Chivers and Gillespie began having

 instant message (IM) conversations every day, or every other day, using their personal computers.1

 The content of these messages, which will be discussed later, forms the basis of Chivers’s claims

 that Gillespie sexually harassed her.

          Chivers contends that Gillespie always initiated the conversations. Although she had the

 ability to block his messages, and occasionally did when she did not want to talk to him, she did not

 always do so even though she knew it would just look like she was not online. Chivers testified that

 she believed Gillespie would think something was wrong if she stopped talking to him. She worried

 that he would get nervous that he was about to get in trouble because Gillepsie had acknowledged

 to Chivers many times that his behavior was risky. Gillespie’s response would have been important

 to Chivers because she felt that Gillespie had control over her math grade as well as influence over

 other students’ opinions of her. She had witnessed students’ harsh treatment of another student who

 was sexually harassed by a teacher and believed the same could happen to her because Gillespie was

 a popular teacher. He also had access to her personal records and information. Chivers did not

 actually suffer any negative consequences for the times she blocked Gillespie’s messages.

          Friday, October 3, 2003, was the last day that Chivers attended classes at the School. This

 was also the earliest date that anyone at the School learned of the events transpiring between Chivers

 and Gillespie. Mr. Chivers called Wellman, the High School principal, to complain of Gillespie’s

 conduct toward his daughter. Before this, Chivers had told other people, such as her boyfriend and

 sisters, about Gillespie’s comments, but asked them all not to take action. When Chivers told her


          1
             Like a chat room, IM is used to send messages back and forth through the Internet to a specific user. It is
 like a chat room in the way that you can communicate, but unlike most chat room communications, the information
 that is being typed is sent directly to the user and is not viewed by anyone else. Chivers and Gillespie used MSN as
 their IM vehicle.

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 mother about the situation, her mother suggested that Chivers move in with her sister, who lived

 in Oregon. This suggestion was made to reassure Chivers that she could report Gillespie to the

 School and, if she still felt uncomfortable attending the school, could get away from the situation.

        Monday, October 6 was the first time that Chivers herself told Wellman about Gillespie. (It

 is also the first notice that Chivers believes the School had; she does not believe that Wellman was

 notified on October 3). Dawn Ramsey, the School’s nurse, was also present when Wellman spoke

 to Chivers. Chivers informed Wellman that she was withdrawing from the School. When he asked

 her why she wanted to withdraw, Chivers reported that Gillespie was having conversations with her

 at tennis practice and over the internet that made her uncomfortable. Chivers’s characterization of

 Wellman’s response to this information differs somewhat from Ramsey’s and Wellman’s. Chivers

 contends that Wellman accused her of making statements about Gillespie because she wanted to

 move in with her sister. She states that he asked if she kept a printout of any of the conversations

 and told her that he needed proof of Gillespie’s conduct, such as a printout of an IM conversation.

 He even suggested that she get Gillespie to IM her and say the same types of things he had been

 saying. Chivers contends that Wellman said he could not do anything about Gillespie, especially

 without proof.

        Ramsey testified that Wellman asked questions to try to find out what was happening and

 encouraged Chivers to stay at the School because he believed she was an asset to the school. She

 also testified that the reason Chivers stated she wanted to leave the School was because she did not

 want any rumors started about her. Wellman testified in his deposition that he asked Chivers if she

 could get him any evidence or something to support what she was saying because it would be

 helpful. He contends, however, that he did not tell Chivers that he needed proof before he could do


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  anything. He also did not tell her that there was nothing he could do about Gillepsie. Mr. Chivers

  also testified that he did not recall Wellman saying anything of that nature.

         In fact, during the week of October 6–10, the School, through Wellman and the

  Superintendent, Dr. George Stone, contacted the Division of Family and Children and the Noble

  County Prosecutor’s Office. They also requested that the Information Technology Director for the

  School inspect Gillespie’s school computer, which uncovered no evidence of improper usage as it

  related to Chivers. During this week, Wellman attempted to speak to Chivers’s mother. She returned

  his telephone messages on October 9. Mrs. Chivers did not want to talk with anyone from the School

  and indicated that she had contacted the Allen County Prosecutor’s Office and a rape crisis center.

  During this week, Mr. Chivers called the School to report Chivers’ excused absences.

         On Friday, October 10, Chivers completed the appropriate papers to withdraw as a student

  from the School. The record is not clear whether the withdrawal form was provided to the School

  on the 10th, the date it was signed, or on October 13, the next Monday. On Saturday, October 11,

  Gillespie and Chivers had another IM conversation. Mr. Chivers was observing the conversation and

  because he and Chivers both wanted proof of Gillepsie’s inappropriate actions, they kept the

  exchange going.

         Gillespie started the IM conversation by saying that he was sorry to hear that Chivers was

  leaving and that he would miss her. During the conversation, Gillespie informed Chivers that he was

  having a party at his house for the Cubs game. He said he would invite her as a going away present,

  but that she would probably not have fun with his friends. When Chivers responded that it sounded

  like he had an exciting night coming, Gillespie responded, “I’d probably have more fun with you

  . . . if that tells you anything.” He indicated that she would have to come over and between the two


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  of them they could show his friends how to have some fun. When Chivers wrote that Gillepsie

  would have to find a replacement when she left, he responded, “buy you never came down.” She

  clarified that she meant as a manager for the tennis team. Gillespie said they would need a “cute

  girl” because it “keeps the guys coming back.”

         Chivers attempted to get Gillespie to tell her what he thought of her. Gillespie responded that

  he was not allowed to say, because MSN conversations could be seen, and that he only took chances

  “in person.” When she advised him that she was no longer a student at the School, he said that he

  had friends over, “but they won’t be here all night.” Chivers pressed Gillepsie to tell her what he

  thought of her and he wrote, “I think you’re awesome.” When she pressed for more specifics, he said

  that she would be “very complimented.” As to what he would like to see happen, Gillepsie

  responded, “I’m not really in a position to say what I’d like to see happen . . . I’m only in a position

  to react to what is presented to me.” He wrote that he could not ask her to do anything, but that it

  did not mean that he would say no if she asked. Chivers asked Gillepsie if he found her attractive;

  he responded, “yes.” Chivers asked whether he wanted her to “come over later tonight when your

  friends are gone?”; he responded, “yes.” When Chivers asked what they would be doing, Gillespie

  wrote, “whatever you want.” Chivers then said she had to go, but asked Gillespie for his cellular

  phone number. He hesitated, “for the obvious reasons” but said she could see it online by clicking

  on his name and choosing properties. She asked Gillespie if he wanted her to call that night and he

  responded positively, but stated that he could not always have what he wanted. He then said, “but

  in the right circumstance . . . I’m sure I could trust ya enough to go down that road.” When Gillespie

  expressed his nervousness, because he had never had a conversation like this, Chivers commented

  that it was not any different from all their other conversations. Gillepsie responded, “other than you


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  coming over.” Chivers wrote that even that had been discussed before and Gillespie wrote that he

  was never able to “read” her. Gillespie expressed his fear of getting in trouble and Chivers asked

  why, saying that he had not done anything wrong. Gillespie responded, “true,” “yet,” “but I’d let you

  come over . . . that oughta tell you something.” He said he would not even consider it if he did not

  think very highly of her because even if nothing went on, he would still get in trouble. Gillespie

  asked for Chivers “take on everything” before she insists that she has to go and, before they end the

  conversation, Gillepsie wrote, “just ensure me I’m not getting my ass in a sling.”

         On Monday, October 13, Chivers provided Wellman with a printout of the Saturday, October

  11 IM session she had with Gillespie. Either on this date or the previous Friday, Chivers also

  provided Wellman with her written summary of the events that occurred before October 6.

         In the summary, Chivers contends that Gillespie used “Peter . . . Peter Guzinya” as a screen

  name. “Some people call me the gansta of love,” “you’re legs must be tired because you’ve been

  jogging through my mind all day,” and “wanna spank my monkey” were also referenced in

  Chivers’s summary under the heading of “screen names.” In one of the first conversations that

  Chivers believed to be inappropriate for a teacher to have with a student, Gillespie talked at length

  about his relationship with his ex-fiancee and the emotional distress their break-up caused him.

  Chivers contends that Gillespie asked her to tell him anything she knew about his ex-fiancee, who

  she knew to be the cousin of one of her friends, in exchange for bonus points toward her grade and

  candy (which Gillespie handed out frequently) during class.

         During tennis one night, when Chivers was leaving to go to work, Gillespie requested that

  Chivers bring him some food from her workplace to make up for missing tennis. Later that night,

  Chivers told Gillespie, through IM, that she got him some chicken. He said that he was excited to


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  have it for lunch. Chivers informed him that she would not be in school the next day because she

  had an orthodontist appointment. Gillespie responded that he was hungry right then and wished that

  she could bring the chicken to him and wished that it was not too late to come get the chicken or

  have her bring it to him. He then suggested that he could miss school the next day and she could

  bring the chicken to his house (in Fort Wayne) because she was going to be in Fort Wayne for her

  appointment anyway. She stated that she would just drop it off at school on the way to Fort Wayne.

  Gillespie told Chivers that she should feel privileged to be able to bring him the chicken during his

  prep period because he only let special people visit him during that time.

         During one late night IM session, Gillespie stated that a friend he had over at his house

  requested Gillespie to get some girls over. Chivers stated that she was seventeen and his student and

  Gillespie responded that his friend did not care and really wanted her to come over. She declined

  and offered her trigonometry homework as an excuse. Gillespie then stated that he would do her

  homework for her. Later that night, Gillespie told Chivers that he loved to have “late night visitors,”

  that he needed a late night visitor and had not had one in a long time. Chivers told Gillespie that she

  would come if her friend, Joe Brown, who was at her house, could come too. Gillespie insisted that

  Chivers come alone and stated that he trusted her because if the school found out about his

  conversations with Chivers, he could lose his job.

         Chivers recalls in her summary that on another night, Gillespie wanted to compare partying

  stories and rebellious things they had done. Gillespie insisted that he did worse things than Chivers;

  things that would absolutely shock her, but that he could not tell her about them because he was a

  teacher.

         Chivers contends that Gillespie asked her for a picture so that he could “rate” her on scale


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  of 1–10, similar to the rating conducted on the hotornot.com website, where Gillespie’s picture was

  posted. Chivers recalls that Gillespie gave her a 9 out of 10. Gillespie sent Chivers a picture of

  himself performing a mock strip tease during a wedding reception, the same photo that was posted

  on the website. Chivers also recalls that Gillespie sent her two dirty cartoons, one called “Look at

  My Monkey” portraying a masturbating monkey.

         Gillespie told Chivers one night that he was still at school with some of the tennis players

  watching the movie “Joe Schmoe.” He told her that the movie was almost over, but that if she

  wanted to come to the school she could watch the end of it and then help him grade tests when the

  players left. When Chivers asked if she could grade her own test, Gillespie said no, but that he would

  give her bonus points if she graded the rest of the tests. Chivers declined and Gillespie graded her

  test online. Chivers said she would grade tests in the morning for bonus points, but Gillespie

  declined.

         Chivers recalled other comments by Gillespie: he asked her when she turned eighteen; he

  said that she had a great personality and if her older sister was anything like her, that he knew he

  would get along great with her; he said he liked dating younger girls; he stated that if he could find

  a girl exactly like Chivers who was his age, he would have found the perfect woman for himself; he

  stated on several occasions, that he trusted Chivers to be able to talk to her because he knew he

  could get in a lot of trouble if she told anyone about their conversations; he asked Chivers whether

  she was cheating on her boyfriend with her friend Joe Brown.

         Chivers also indicated in the summary that Gillespie pulled up her personal records online

  and told her he could see her parents’ names, addresses, phone numbers, and places of employment

  as well as her age, class rank, and other personal information.


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         One event Chivers included in the summary did not involve the computer. The tennis team

  was returning to school after a match and talked about lifting weights together. Chivers expressed

  an interest in lifting with the team as she had done on one prior occasion. It turned out that, after

  returning to school, none of the players wanted to lift weights but Gillespie asked Chivers if she still

  wanted to lift weights with him. Not wanting to be alone with Gillepsie, Chivers said that she did

  not.

         On October 15, Detective Kathy Robbins of the Indiana State Police and Rosie Johnson of

  the Noble County Prosecutor’s Office interviewed Chivers. The State Police and Prosecutor’s Office

  determined that Gillespie did not commit any criminal acts or offenses and informed Wellman and

  Stone of their conclusions. Wellman met with Chivers and her father after the police interview. By

  this time, the School had contacted its legal counsel regarding its course of action and was relying

  on the advice of counsel. The advice centered around investigating the allegations and, once they

  were substantiated, whether to terminate Gillespie or take some other disciplinary action.

         On October 19, Chivers moved to Oregon to live with her sister and was enrolled in a new

  high school by the end of October.

         On October 21, Dr. Stone and Wellman met with Gillespie to discuss his behavior. Gillespie

  admitted having internet communications with Chivers of a personal nature, including the October

  11 conversation. On October 31, the School issued a reprimand to Gillespie as a result of their

  investigation and the documents provided by Chivers. Gillespie was “warned and reprimanded for

  engaging in an inappropriate dialogue with a Central Noble High School student while [he was] a

  faculty member at that school.” Gillespie was told that his conduct jeopardized his continued

  employment with the School. The reprimand was placed in his personnel file. Since October 2003,


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  there have been no allegations, complaints, or rumors against Gillespie of inappropriate conduct with

  a student.

          Chivers testified that there was nothing the School could have done to convince her to stay

  as a student other than firing Gillespie because she would not have felt comfortable attending the

  School unless he was gone. Mr. Chivers testified that he expected the School to isolate his daughter

  from Gillespie and make arrangements for her to receive math instruction some other way. He did

  not communicate this specific expectation to the School and the School did not offer any such

  solution.

          Chivers testified that she could not concentrate in class and that her attendance and grades

  suffered as a result of Gillespie’s conduct. She decreased her participation in class so as not to attract

  unwanted attention. She testified that, on at least one occasion, she believed she received more credit

  on a test than she was actually entitled to. She claims that she did not seek help after school because

  she did not want to be alone with Gillespie and that she skipped a tennis match and then hid from

  Gillespie when he drove past the truck she was sitting in with her boyfriend. There is also credible

  evidence that, after reporting Gillespie’s conduct, Chivers threatened to commit suicide.

          The School never informed Chivers of its reprimand to Gillepsie, but she heard about it

  through other parties. Chivers returned to Fort Wayne in early June 2004 but did not return to the

  School, where she wanted to be with her friends, because Gillespie was still a teacher there. She

  completed her high school education in December 2004 at Snider High School.

          During the 2002-2003 school year, there was a rumor that Gillespie had been overly familiar

  with a student, Sandy Price. The rumor was investigated and found to have no merit. The School did

  determine, however, that Gillespie’s e-mail communication with Ms. Price about her homework


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  assignments had the possible appearance of impropriety and that he should not communicate with

  students through the internet.



                                             DISCUSSION

  A.     Title IX

         Title IX prohibits sex discrimination in educational programs or activities supported by

  federal grants. 20 U.S.C. § 1681(a). The only remedy specified in the statute is the elimination of

  federal funding, § 1682, but in Cannon v. University of Chicago, 441 U.S. 677, 717 (1979), the

  Supreme Court held that the statute by implication entitles a person injured by a violation to sue for

  damages. A plaintiff must establish sexual harassment of a student that is so severe, pervasive, and

  objectively offensive, and that so undermines and detracts from the student’s educational experience,

  that the student victim is effectively denied equal access to an institution’s resources and

  opportunities. Davis Next Friend LaShonda D. v. Monroe County Bd. of Educ., 526 U.S. 629, 651

  (1999); Gabrielle M. v. Park Forest-Chicago Heights, Ill. Sch. Dist., 163, 315 F.3d 817, 823 (7th

  Cir. 2003) (citing requirement that action be severe, pervasive, and objectively offensive sexual

  harassment that had a concrete, negative effect on the student’s access to education).

         A recipient of federal funds, however, may be liable in damages under Title IX only for its

  own misconduct. Davis, 526 U.S. at 640–41. Therefore, when the claim for damages is based on the

  behavior of a teacher toward a student, the plaintiff must prove that “an official of the [defendant

  educational institution] who at a minimum has authority to institute corrective measures . . . has

  actual notice of, and is deliberately indifferent to, the teacher’s misconduct.” Gebser v. Lago Vista

  Indep. Sch. Dist., 524 U.S. 274, 277 (1998). The response must amount to deliberate indifference


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  to discrimination. Id. at 290. As long as the school’s response is not “clearly unreasonable,” it cannot

  have acted with the requisite deliberate indifference to incur Title IX liability. Davis, 526 U.S. at

  648–49. “In an appropriate case, there is no reason why courts, on a motion to dismiss, for summary

  judgment, or for a directed verdict, could not identify a response as not ‘clearly unreasonable’ as a

  matter of law.” Id. at 649 (stating that this is not a mere “reasonableness” standard).



  1.      Sufficiently Severe or Pervasive

          The Seventh Circuit has endorsed looking to Title VII law to determine whether the alleged

  sexual harassment is sufficiently severe or pervasive to constitute illegal discrimination on the basis

  of sex under Title IX. Hendrichsen v. Ball State Univ., 107 F. App’x 680, 684, 2004 WL 1873222,

  at *4 (7th Cir. Aug. 19, 2004); Smith v. Metro. Sch. Dist. Perry Twp., 128 F.3d 1014, 1023 (7th Cir.

  1997). Whether gender-oriented conduct rises to the level of actionable harassment in Title IX cases

  “‘depends on a constellation of surrounding circumstances, expectations, and relationships,’” Oncale

  v. Sundowner Offshore Services, Inc., 523 U.S. 75, 82 (1998), including, but not limited to, the ages

  of the harasser and the victim and the number of individuals involved.” Davis, 526 U.S. at 651

  (parallel citation omitted). “The relationship between the harasser and the victim necessarily affects

  the extent to which the misconduct can be said to breach Title IX’s guarantee of equal access to

  educational benefits and to have a systemic effect on a program or activity. Peer harassment, in

  particular, is less likely to satisfy these requirements than is teacher-student harassment.” Id. at 653.

          The School argues that because Chivers stopped attending classes on October 3 and told

  Wellman that she would not come back to school with Gillespie there, the School no longer had a

  duty to protect her from sexual harassment, unless she returned to school. The School argues that


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  any activities of Gillespie that occurred after October 3 cannot form the basis for a hostile

  environment claim. They also assert that she was officially withdrawn from the school before the

  October 11 IM, which occurred while Chivers and Gillespie were away from school on their home

  computers, a situation over which it had no control.

         The Court finds that the events occurring after October 3, including the October 11 IM

  should be included in its analysis of whether Chivers’s educational environment was hostile. At all

  times, Gillespie, the harasser, was under the School’s disciplinary authority. The School had the

  ability to discipline Gillespie for his actions occurring after October 3 and indeed, did discuss the

  October 11 IM in its meeting with him. In addition, the School had a duty to guarantee equal access

  to educational benefits even when Chivers’s status as a student was uncertain. That she was not sure

  she wanted to continue her education at the School was only due to the situation created by

  Gillespie’s gender-related conduct and the School’s response to it.

         The School also argues that Chivers was not offended by Gillepsie’s conduct. As evidence,

  it contends that she turned him down, called him a dirty old man, enjoyed receiving a certain amount

  of favoritism, and suffered no negative consequence to her math grade or otherwise. Other than the

  comment regarding favoritism, the Court is not sure how these things demonstrate that Chivers was

  not offended by Gillespie’s conduct. Additionally, the reference to favoritism only addressed the

  classroom aspect of Gillespie’s conduct and Chivers testified that she eventually became

  uncomfortable by his preferential treatment and stopped participating in math class because of it.

  There is sufficient evidence to allow a jury to determine whether Chivers was offended by

  Gillespie’s conduct. She reported the conduct as inappropriate, at first to her friends and family and

  then to the School. She also testified that she would sometimes block his messages and she never


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  placed herself in a situation where she was alone with Gillespie. Eventually, Chivers refused to

  return to school while Gillespie was still there.

         The Seventh Circuit has said, and this Court agrees, that “[i]t goes without saying that sexual

  harassment in the workplace is vastly different from sexual harassment in a school setting.” Mary

  M. v. N. Lawrence Cmty. Sch. Corp., 131 F.3d 1220, 1226 (7th Cir. 1997) (finding that welcomeness

  is not an appropriate inquiry in Title IX cases where elementary students are involved).

         The ability to control and influence behavior exists to an even greater extent in the
         classroom than in the workplace, as students look to their teachers for guidance as
         well as for protection. The damage caused by sexual harassment also is arguably
         greater in the classroom than in the workplace, because the harassment has a greater
         and longer lasting impact on its younger victims, and institutionalizes sexual
         harassment as accepted behavior. Moreover, as economically difficult as it may be
         for adults to leave a hostile workplace, it is virtually impossible for children to leave
         their assigned school. Finally, a nondiscriminatory environment is essential to
         maximum intellectual growth and is therefore an integral part of the educational
         benefits that a student receives. A sexually abusive environment inhibits, if not
         prevents, the harassed student from developing her full intellectual potential and
         receiving the most from the academic program.

  Id.

         With this in mind, the Court finds that the appropriate standard in this case is not that of a

  reasonable adult in the workplace, but of a reasonable teenager in a school setting. While none of

  the comments were physically threatening, hostile, or intimidating, they did evidence Gillespie’s

  desire to establish a sexual relationship with Chivers. The Court must be cognizant that manipulation

  that might not impact a peer can become a tool of harassment for a teacher in the teacher-student

  relationship.

         The Court finds that a reasonable jury could conclude that Gillespie pursued Chivers in

  hopes of establishing a sexual relationship. The nature of Gillespie’s comments regarding late night

  visitors, asking her to come over, saying that he only took chances in person, commenting that he

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  was only in a position to react to what was presented to him, and other comments could support such

  a conclusion.

         A jury could also conclude that this pursuit, by a person with authority over Chivers, so

  undermined and detracted from her educational experience that she was effectively denied equal

  access to the School’s resources and opportunities. Chivers decreased her participation in class, did

  not seek help in math even though she needed it, and had falling grades and poor attendance. She

  also felt trapped into continuing to converse with Gillespie for fear that he could affect her grade and

  other students’ perceptions of her. Chivers eventually stopped going to school altogether as a result

  of the circumstances created by Gillespie’s conduct. Whether Gillespie’s personal communication

  with Chivers and his repeated invitations for Chivers to be alone with him at night, either at school

  or at his apartment, in conjunction with the sexual nature of his screen names, the dirty cartoons, and

  the request for a picture to rate her as “hot or not,” were sufficiently egregious to support a claim

  for a hostile environment is a question for the finder of fact.



  2. School’s Response

         Even if Gillespie’s conduct was sufficiently severe, the School cannot be held liable under

  Title IX if its response to the known instances of harassment was not clearly unreasonable in light

  of the know circumstances. Gebser, 524 U.S. at 290; Gabrielle M. v. Park-Forest-Chicago Heights,

  Ill. Sch. Dist. 163, 315 F.3d at 824.

         Chivers argues that the School did not take prompt action because it first wanted written

  proof from Chivers. In fact, according to Chivers’s version of events, Wellman suggested that,

  because Chivers did not have any proof, she should get Gillespie to IM her again so she could print


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  it out as proof of what Gillespie was doing. Chivers also contends that Wellman suggested that

  Chivers was only accusing Gillespie so she could move to Washington to live with her sister.

         If the School had stopped right there and not taken any action on Chivers’s complaint, its

  response may have been deliberately indifferent under Chivers’s version of events. However, it is

  undisputed that after Chivers orally reported that Gillespie engaged in conversation that made her

  uncomfortable, Wellman contacted the Superintendent and they contacted outside law enforcement

  agencies—even before receiving Chivers’ summary of conduct or the printout of the October 11 IM

  conversation. The School also conducted an investigation of Gillespie’s computer at school and

  remained in contact with Chivers’s parents regarding the situation and the School’s investigation

  and response. Wellman also arranged for Chivers to be interviewed by the Indiana State Police.

         Chivers contends that because Wellman did not give her any assurances that Gillespie would

  be terminated, she decided not to come back to school and requested that Wellman wait to confront

  Gillespie until after she was gone. The School submits that it simply honored Chivers’ request when

  it waited until October 21 to talk to Gillespie. It also argues that Chivers’s request proves that she

  had already decided to move when she voiced her complaint to Wellman. In essence, the parties

  dispute whether it was appropriate for the School to operate under the assumption that Chivers did

  not want to return to the School, or whether it should have taken steps to allow her to attend school

  without having any contact with Gillespie, either because he was already fired or otherwise.

         The Court finds that even if the School’s assumption regarding Chivers’s intentions was

  erroneous, it was not deliberately indifferent to the allegations of harassment. The Court does not

  suggest that reasonable persons could not differ as to how the matter should have been handled or

  that the School’s response was ideal. While it may have been preferable for the School to


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  communicate to Chivers that there were ways to keep her enrolled and isolated from Gillespie, this

  was not a case, as it was in Davis, of a school making “no effort whatsoever either to investigate or

  to put an end to harassment.” Cf. Davis, 526 U.S. at 654. Although the School could have arguably

  done more, the Defendants’ actions were not clearly unreasonable in light of the known facts. See

  Hendrichsen, 107 F. App’x at 685 (noting that plaintiff’s arguments that she wished school had done

  more did not explain why what it did do could be considered clearly unreasonable). The fact remains

  that Chivers had already expressed her desire to withdraw from school, mainly because of her

  concern that she would be ostracized by other students. She took steps that demonstrated her

  intention to follow through on this action. Although the Court can speculate that a different response

  from the School may have changed Chivers’s actions and her adamance that she was not returning

  to the School, and been more sensitive to her position, its response did not amount to an official

  decision not to remedy the situation. Cf. Chontos v. Rhea, 29 F. Supp. 2d 931, 934 (N.D. Ind.1998)

  (quoting Gebser for the proposition that “an agency may sanction a funds recipient when the proper

  official ‘refuses to take action,’ in other words, when there is ‘an official decision by the recipient

  not to remedy the violation’”).

         By arguing that the discipline was not swift (or severe) enough, the Plaintiff is essentially

  asking this court to “second guess” the School’s decisions. That is not the Court’s role. This Court’s

  role is to determine whether, based upon all of the facts presented in this case, there is a genuine

  issue of material fact regarding whether the School’s response was clearly unreasonable. Davis, 526

  U.S. at 648 (admonishing that “courts should refrain from second-guessing the disciplinary decisions

  made by school administrators); Burwell v. Pekin Cmty. High Sch. Dist. 303, 213 F. Supp. 2d 917,

  934 (C.D. Ill. 2002). Because Wellman’s response did not amount to deliberate indifference,


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  Wellman and the School are entitled to summary judgment on Chivers’s Title IX claim and that

  claim is dismissed in its entirety.



  B.      Section 1983 Claim Against Gillespie

         Chivers invokes § 1983 to sue Gillepsie for violating her equal protection rights. The

  Seventh Circuit recognized the potential for such a cause of action against a teacher in Delgado v.

  Stegall, 367 F.3d 668, 674 (7th Cir. 2004) (holding that Title IX remedies did not foreclose student’s

  claim against state university professor under § 1983). To state a valid cause of action under § 1983,

  a plaintiff must demonstrate that: (1) the defendant deprived her of a right secured by the

  Constitution or any law of the United States; and (2) the deprivation of that right resulted from the

  defendant acting under color of law. Fries v. Helsper, 146 F.3d 452, 457 (7th Cir. 1998).



  1.      Deprivation of Right Secured by Constitution

         Just as sexual harassment is sex discrimination for Title VI purposes, it is also sex

  discrimination for purposes of the equal protection clause of the fourteenth amendment. Bohen v.

  City of East Chicago, Ind., 799 F.2d 1180, 1185 (7th Cir. 1986). However, in § 1983 cases for

  violation of equal protection, unlike in Title VII cases, the plaintiff must establish intent to

  discriminate based on gender. Trautvetter v. Quick, 916 F.2d 1140, 1149 (7th Cir. 1990) (holding

  that, in equal protection cases, unlike in Title VII cases, intent to discriminate must be shown).

  “Thus, a plaintiff wishing to sustain an equal protection claim of sexual harassment must show both

  ‘sexual harassment’ and an ‘intent’ to harass based upon that plaintiff's membership in a particular

  class of citizens—i.e., male or female.” Id. Gillespie contends that Chivers cannot establish that his


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  conduct was sufficiently severe or pervasive to create a hostile environment or that he intended to

  discriminate against her on the basis of her gender. The Court disagrees and finds that there is

  sufficient evidence from which a jury could conclude that Gillespie’s actions created a sexually

  hostile educational environment and deprived Chivers of her constitutionally protected right to equal

  protection.

         Although the Court agrees that there is not evidence of physical contact, the Court does not

  agree with Gillespie’s characterization that the IM exchanges were, “at worst, flirtatious or

  suggestive.” Even if they were only characterized as such, flirtatious or suggestive exchanges have,

  as discussed more fully above, a different meaning among peers than they do to a seventeen year

  old student from her teacher. And while Chivers testified that Gillespie never talked her into doing

  anything against her will, the fact that she did not accommodate his requests for her to visit him at

  his apartment or late at school does not take away the fact that a jury could determine that Gillespie

  inappropriately pursued Chivers for a sexual relationship that undermined her educational

  experience.

         Challenging the intent element, Gillespie contends that Chivers was not discriminated against

  because of her gender if Gillespie only sent instant messages to her because of a personal attraction.

  Intent is an essential element of a claim for violation of the Equal Protection Clause. Huebschen v.

  Dept. of Health and Social Servs., 716 F.2d 1167, 1171 (7th Cir. 1983) (“A person bringing an

  action under the Equal Protection Clause must show intentional discrimination against him because

  of his membership in a particular class, not merely that he was treated unfairly as an individual.”).

  Gillespie relies on Trautvetter to assert that this required element is missing in this case. In

  Trautvetter, the court asked whether the defendant’s sexual advances toward the plaintiff were


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  “because of” her status as a woman or, in the alternative, whether those advances were inspired by

  characteristics, albeit some sexual, which were personal to the plaintiff. 916 F.2d at 1150. The court

  determined that there was nothing in the record to indicate that the defendant’s feelings were based

  on anything but personal attraction to the plaintiff. Id. at 1152; see also Huebschen, 716 F.2d at 1172

  (finding that the defendant’s gender was merely coincidental to the plaintiff’s actions because the

  group that the plaintiff sought to have romantic affairs with consisted only of the plaintiff and the

  defendant’s animus was toward the defendant as a “former lover who had jilted her”). Gillespie uses

  this same analysis to contend that, if even Chivers’s allegations are true, his conduct was the result

  of personal attraction, not intentional discrimination based on Chivers’s membership in a protected

  class.

           Therefore, the Court must determine whether Gillespie’s harassment was because of sex or

  whether it was merely in spite of her gender. Huebschen, 716 F.2d at 1171 ( “The decisionmaker

  must have selected or reaffirmed a particular course of action at least in part ‘because of,’ not merely

  ‘in spite of,’ its adverse effects upon an identifiable group.”) (citations and alterations omitted). The

  Court finds the facts of this case distinguishable from Huebshen and Trautvetter. It is not

  insignificant that the claims in Huebshen arose out of a failed office romance and in Trautvetter, the

  principal of a school courted a teacher for an intimate relationship that the parties eventually

  consummated and maintained for some time before the plaintiff claimed that she was pressured into

  the relationship. In explaining the distinction between an intent to discriminate because of a

  plaintiff’s status as a female versus because of characteristics of her gender which are personal to

  her, the Trautvetter court explained:

           If this distinction—subtle as it is—is not maintained, any consensual workplace
           romance involving a state supervisor and employee which soured for one reason or

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         another could give rise to equal protection claims if the employee simply alleges that
         his or her supervisor’s conduct during the term of the romance constituted “sexual
         harassment.” Such a scenario constitutes precisely the type of claim which the equal
         protection clause’s “intent to discriminate” requirement was meant to discourage.

  Trautvetter, 916 F.2d 1140, 1151 (7th Cir. 1990).

         The Court also finds guidance in Volk v. Coler, 845 F.2d 1422, 1433 (7th Cir.1988), where

  the Seventh Circuit distinguished its holding in Huebshen because the plaintiff’s testimony depicted

  an abusive environment in which she was allegedly victimized against her will, not one in which a

  consensual romance disintegrated. The court stated that “[d]iscrimination and harassment against

  an individual woman because of her sex is a violation of the equal protection clause.” Id. The

  plaintiff’s sex was an immutable characteristic and even if the defendant “did not choose to offend

  all women with whom he had contact, the law does not require such uniform treatment.” Id. The

  Seventh Circuit has specifically rejected the argument that harassment based on sexual desire is not

  based on gender. See King v. Bd. of Regents of Univ. of Wis. Sys., 898 F.2d 533, 539 (7th Cir. 1990)

  (citing Volk v. Coler, 845 F.2d 1422, 1433 (7th Cir.1988) and Bohen v. City of East Chicago, Ind.,

  799 F.2d 1180, 1187 (7th Cir. 1986)). In King, the defendant claimed that it was the plaintiff as an

  individual to whom he was attracted, not the plaintiff as a woman. The court found that this

  argument missed the point: “[The defendant] wanted to have an affair, a liaison, illicit sex, a

  forbidden relationship. His actions are not consistent with platonic love. His actions were based on

  her gender and motivated by his libido.” Id. The court noted that it rejected similar arguments in

  quid pro quo harassment cases where a supervisor demands sexual favors as a condition of

  employment:

         This is exactly the situation where a supervisor’s only motivation is to have a
         conjugal relationship with the employee. In Horn v. Duke we considered the
         argument that the quid pro quo demands based on sexual desire were not based on

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          sex. 755 F.2d 599, 604 (7th Cir.1985). We found that “[b]ut for Horn’s womanhood,
          Haas would not have demanded sex as a condition of employment. Because of her
          sex, therefore, Horn was disadvantaged by pressure to submit to an additional,
          humiliating condition of employment that served no legitimate purpose of the
          employer.” Id. In other words, treatment of individual based on sexual desire is
          sexually motivated. Sonstein’s sexual desire does not negate his intent; rather it
          affirmatively establishes it.

  Id.

          The Court finds that Gillespie has not established, as a matter of law, that his actions were

  motivated by factors other than Chivers’s gender and his desire to have a sexual relationship with

  her as a female. See King, 898 F.2d at 539 (clarifying that the “theme of Huebschen is that disparate

  or harassing treatment is not sexually discriminatory if there is a cause other than gender” such as

  personal incompatibility). There is sufficient evidence to present the jury with the issue of whether

  Gillespie’s actions were gender-based harassment.



  2.      Under Color of State Law

          Gillespie contends that Chivers cannot establish that he was acting under color of state law

  when the alleged harassment occurred. He argues that none of the conduct took place during school

  hours or during school functions and Chivers did not suffer negative consequences from Gillespie

  in his capacity as a teacher.

          In West v. Atkins, 487 U.S. 42, 49 (1988), the Supreme Court explained that to be “acting

  under color of state law requires that the defendant in a § 1983 action have exercised power

  ‘possessed by virtue of state law and made possible only because the wrongdoer is clothed with the

  authority of state law.’”(quoting United States v. Classic, 313 U.S. 299, 326 (1941)). The Court

  further noted in West that “[i]t is firmly established that a defendant in a § 1983 suit acts under color


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  of state law when he abuses the position given to him by the State.” Id. at 49–50.

         Because the Seventh Circuit has not specifically addressed when a teacher has acted under

  color of state law, this Court looks to other circuits for guidance. See Becerra v. Asher, 105 F.3d

  1042 (5th Cir. 1997); Doe v. Taylor Indep. Sch. Dist., 15 F.3d 443 (5th Cir. 1994); D.T. v. Indep.

  Sch. Dist. No. 16, 894 F.2d 1176 (10th Cir. 1990).

         In D.T. v. Indep. Sch. Dist. No. 16 and Becerra v. Asher, the reviewing courts determined that

  the defendant teachers did not act under color of state law when they engaged in the activity alleged

  to have violated the plaintiffs’ constitutional rights. The state actors in these cases became

  acquainted with or befriended the plaintiffs pursuant to their official duties. However, in D.T., the

  teacher molested students during summer vacation at his home following a fund-raising activity for

  a basketball camp that was not affiliated with the school and when he was not officially working for

  the school district. 894 F.2d at 1186–88. In Becerra, there was no nexus between the teacher’s

  official duties and his sexual assault of a student at the student’s home more than five months after

  the student withdrew from the school. 105 F.3d at 1047.

         The facts in Doe v. Taylor stand in contrast:

         Stroud took full advantage of his position as Doe’s teacher and coach to seduce her.
         He required Doe to do little or no work in the classroom and still gave her A’s. He
         also spoke to one of Doe’s other teachers about raising her grade in that class. Stroud
         was also Doe’s basketball coach and he exploited that position as well. The first
         physical contact Stroud had with Doe was after a basketball game in November 1986
         when he grabbed her and kissed her. Stroud’s physical contact with Doe escalated
         thereafter. During the next several months Stroud took Doe from his classroom to an
         adjoining lab room where he kissed and petted her. During that same period of time
         Stroud also met Doe in the school’s fieldhouse where similar activity took place.

         As the court in D.T. recognized, if a “real nexus” exists between the activity out of
         which the violation occurs and the teacher’s duties and obligations as a teacher, then
         the teacher’s conduct is taken under color of state law. [894 F.2d] at 1188. As
         demonstrated by the above facts, the nexus that was missing in D.T. was clearly

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         present in this case. We therefore reject the school officials’ argument that Stroud’s
         acts were not under color of state law.

  Doe v. Taylor, 15 F.3d at 452 n.4.

         Although this case falls somewhere between Doe, at one end of the spectrum, and D.T. and

  Becerra at the other, this Court finds that there is a question of fact whether there was a real nexus

  between Gillespie’s conduct and his obligations as a teacher such that he was acting under color of

  state law for purposes of Chivers’s § 1983 claim. Unlike in D.T. and Becerra, he was actively

  engaged in teaching Chivers during the same time that he engaged in the alleged misconduct. He

  was her teacher before, during, and (if she had stayed at the School) after the harassment. Becerra,

  105 F.3d at 1047 (stating that “[u]nlike in Doe, Asher was not Juan’s teacher ‘before, during, and

  after’ the sexual abuse, nor was this wrongful conduct ‘on and off school grounds’”). His official

  interactions with Chivers and his sexual pursuit constituted an “indivisible, ongoing relationship”

  even though a significant amount of the sexual misconduct occurred after hours and off school

  grounds via personal computers. Doe v. Taylor, 15 F.3d at 461 (Higginbotham, J., concurring).

  Chivers testified that the fact that Gillespie was her teacher led her to believe that she could not

  simply ignore, or block, his instant messages without consequence. Had a total stranger been

  contacting her, she would not have felt the same pressure because there would not have been any

  fear of repercussion to her grade or her standing with her peers. Gillespie also used his position of

  authority to suggest that Chivers could get bonus points in his class by helping him grade tests—late

  at school alone with him. Chivers testified that he gave her more points on one of her tests than she

  actually deserved and that she tried to avoid unwanted attention in class. Gillespie also suggested

  lifting weights with Chivers after tennis even though he knew none of the other players were going

  to lift. Gillespie’s involvement with the School’s tennis team, of which Chivers was a student

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  manager, was certainly part of his official duties. Gillespie also made reference to visiting him

  during his prep period at school.

          Chivers’s § 1983 claim is not foreclosed for failure to establish that Gillespie was acting

  under color of state law.



  3.      Qualified Immunity

          Gillespie contends that he is entitled to qualified immunity.

          Under United States Supreme Court precedent, the analysis of a qualified immunity defense

  requires a two-step inquiry. First, a court must answer the threshold question whether the alleged

  facts, taken in the light most favorable to the party asserting the injury, show that the defendant’s

  conduct violated a constitutional right. Saucier v. Katz, 533 U.S. 194, 201 (2001). Second, assuming

  that a plaintiff is able to establish a constitutional violation under a favorable view of the facts, “the

  next, sequential step is to ask whether the right was clearly established.” Id. In other words, a court

  must consider whether the law clearly established that the defendant’s conduct was unlawful in the

  circumstances of the case. Id.

          The Court has already determined that there is sufficient evidence to proceed to the jury with

  the question whether Gillespie’s actions violated Chivers’s constitutional right to equal protection.

  The Court also finds that the contours of the right to be free from sexual harassment, which

  constitutes intentional discrimination based on gender, in the educational setting are sufficiently

  clear that a reasonable teacher would understand that when he pursues a student for a sexual

  relationship, he violates that right. See Anderson v. Creighton, 483 U.S. 635, 640 (1987) (describing

  “clearly established” requirement of qualified immunity). Although it is not required that the very


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  action in question has previously been held unlawful, the unlawfulness must be apparent in light of

  pre-existing law. Id.

           Here, Gillespie should have known that his communications with his student were not only

  improper (it appears that he did realize as much), but also had the effect of discriminating against

  her on the basis of her gender. Gillepsie’s assertions that his computer contact was, at worst,

  flirtatious or suggestive and that none of the alleged conduct took place at the school is not based

  on a view of the facts most favorable to Chivers. His notation that she was seventeen years old, and

  over Indiana’s legal age of consent, does not convince this Court that her right to be from

  harassment based on gender was any less clearly established. The Equal Protection Clause is not age

  specific.2        Gillespie is not immune from suit for violation of Chivers’s equal protection rights

  and her § 1983 claim may proceed to a jury.



  C.       State Law Claims

  1.       Negligent Retention and Supervision

           In Count II of her Amended Complaint, Chivers alleges that the School and Wellman were

  negligent in their retention or supervision of Gillespie. The Defendants argue that summary

  judgment is appropriate on this claim because they did not know or have reason to know about

  misconduct by Gillespie and did not fail to take appropriate action.

           “Indiana has long recognized a cause of action for negligent hiring and retention of an



           2
             If Gillespie intended to argue Chivers’s age as additional proof that his conduct did not create a sexually
  hostile environment, it would also fail. As previously stated, there is sufficient evidence in the record to allow a jury
  to determine that issue. It is also noteworthy that Indiana’s child seduction statute, Ind. Code § 35-42-4-7, applies to
  children seventeen years of age.


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  employee.” Levinson v. Citizens Nat’l Bank of Evansville, 644 N.E.2d 1264, 1269 (Ind. Ct. App.

  1994). Indiana has adopted the Restatement (Second) of Torts § 317 as the standard with regard to

  this tort. Konkle v. Henson, 672 N.E.2d 450, 454 (Ind. Ct. App.1996). Under this standard, the court

  must determine if the employer exercised reasonable care. Id. at 455.

         To prevail on this theory, the plaintiff must show that the defendant employer negligently

  retained an employee knowing that the employee was in the habit of misconducting himself.

  Levinson, 644 N.E.2d at 1269; see also Grzan v. Charter Hosp. of Nw. Ind., 702 N.E.2d 786, 793

  (Ind. Ct. App. 1998) (stating that the plaintiff must show that the defendant knew or had reason to

  know of employee’s misconduct and failed to take appropriate action). Chivers argues that the

  School knew about Gillespie’s prior improper internet communications with another female student,

  Sandy Price, and knew about his communications with Chivers, but failed to take appropriate action.

  Chivers contends that even without knowledge of Sandy Price, the Defendants’ response to her

  situation alone gives rise to a claim for negligent retention and supervision.

         The Plaintiff’s allegation of an unsubstantiated rumor of previous misconduct and her

  argument of an inadequate response to her own complaint do not support a claim for negligent

  retention and supervision of an employee who was known to be in the habit of misconducting

  himself. In the two cases cited by Chivers in support of her claim for negligent retention and

  supervision, the defendants had engaged in prior incidents of known harassment. In Chontos v.

  Rhea, by the time the incidents involving the plaintiff occurred, the harasser had established a

  pattern of behavior that was not addressed by the university, despite a previous warning to him that

  future behavior could result in being fired. 29 F. Supp. 2d 931, 935–37 (N.D. Ind.1998) (noting that

  before the incident with the plaintiff, the defendant had gained a reputation for making females


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  uncomfortable in his presence and patting them on the buttocks, stalked a female graduate student

  and physically assaulted her in her home, touched a high school girl on the buttocks then invited her

  to his office, and been the subject of special scheduling and furniture arrangements designed to

  diminish his opportunity to bother females).

         In Matheny v. Reid Hospital & Health Care Services, Inc., 2002 WL 655702, at *11 (S.D.

  Ind. Mar. 12, 2002), an unpublished opinion, the court denied summary judgment on the plaintiff’s

  negligent retention claim when it found that the plaintiff raised genuine issues with respect to the

  appropriateness of the defendant’s response to her complaints of harassment, especially “in light of

  the multiple, prior complaints regarding [the alleged harasser’s] similar conduct.” In discussing the

  employer’s liability under Title VII, the court found that “[a] reasonable trier of fact could find that

  [the employer’s] response was inappropriate given [the harasser’s] history and [the employer’s]

  knowledge that he had made inappropriate comments to other women as well as his recent

  unwelcome and inappropriate touching of [the plaintiff].” Id. at *8.

         Here, the Defendants had no reason to know that Gillespie would engage in the activities he

  did with Chivers. He did not have a history of such conduct nor did he display behavior that would

  have revealed a propensity for such behavior. Chivers makes much of the fact that Gillespie was

  previously warned for communicating with a student, Sandy Price, via the internet. However, there

  is no evidence that his communication with Ms. Price was of a sexual nature. In fact, an

  investigation of a rumor that Gillespie was overly familiar with her led the Defendants to conclude

  that there was no inappropriate behavior, just the potential of an appearance of impropriety that

  exists whenever a teacher communicates with a student by e-mail, even if only to discuss homework

  assignments. The Defendants are correct when they argue that “Gillespie’s communication with a


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  female student regarding her math assignments could not give the School any reason to forsee that

  [he] would engage in sexual harassment in the future.” (Reply at 12.)

          Because Gillespie’s conduct was not foreseeable, the Defendants cannot be held liable under

  the tort of negligent retention or supervision and Count II is dismissed.



  2.      Intentional Infliction of Emotional Distress

          Chivers has sued all of the Defendants for intentional infliction of emotional distress. They

  seek summary judgment on this claim.

          The tort of intentional infliction of emotional distress arises when a defendant (1) engages

  in “extreme and outrageous” conduct that (2) intentionally or recklessly (3) causes (4) severe

  emotional distress to another. Bradley v. Hall, 720 N.E.2d 747, 752 (Ind. Ct. App. 1999) (citing Doe

  v. Methodist Hosp., 690 N.E.2d 681, 691 (Ind.1997) and Restatement (Second) of Torts § 46

  (1965)). As its name suggests, it is the intent to harm another emotionally that forms the basis for

  the tort. Id. (citing Cullison v. Medley, 570 N.E.2d 27, 31 (Ind.1991)). However, the Restatement

  of Torts explains that the tort can occur not only where an actor desires to inflict severe emotional

  distress, but also where he knows that such distress is certain, or substantially certain, to result from

  his conduct. Id. at 691 n.6 (citing Restatement (Second) of Torts § 46 cmt. i (1965)). Such conduct,

  referred to as “reckless disregard of safety” or “wanton or wilful conduct,” is also defined in the

  Restatement:

          The actor’s conduct is in reckless disregard of the safety of another if he does an act
          or intentionally fails to do an act which it is his duty to the other to do, knowing or
          having reason to know of facts which would lead a reasonable man to realize, not
          only that his conduct creates an unreasonable risk of physical harm to another, but
          also that such risk is substantially greater than that which is necessary to make his
          conduct negligent.

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  Id. (citing Restatement (Second) of Torts § 500 (1965)). The Court finds that there is a question of

  fact whether Gillespie, by his actions toward a student under his authority, acted in reckless

  disregard for her safety. The same cannot be said for Wellman and the School. Although their

  response to Chivers’s complaint may have been less than ideal, they did not create a risk

  substantially greater than that which is necessary to make their conduct negligent.

         To be actionable, the actor must not only intend to harm, but the conduct must be

         so outrageous in character, and so extreme in degree, as to go beyond all possible
         bounds of decency, and to be regarded as atrocious, and utterly intolerable in a
         civilized community. Generally, the case is one in which the recitation of the facts
         to an average member of the community would arouse his resentment against the
         actor, and lead him to exclaim, “Outrageous!”

  Id. at 753 (citing Restatement (Second) of Torts § 46). “What constitutes ‘extreme and outrageous’

  conduct depends, in part, upon prevailing cultural norms and values.” Id.

         The liability clearly does not extend to mere insults, indignities, threats, annoyances,
         petty oppressions, or other trivialities. The rough edges of our society are still in need
         of a good deal of filing down, and in the meantime plaintiffs must necessarily be
         expected and required to be hardened to a certain amount of rough language, and to
         occasional acts that are definitely inconsiderate and unkind. There is no occasion for
         the law to intervene in every case where someone’s feelings are hurt. There must still
         be freedom to express an unflattering opinion, and some safety valve must be left
         through which irascible tempers may blow off relatively harmless steam.

  Gable v. Curtis, 673 N.E.2d 805, 810 (Ind. Ct. App. 1996). In the appropriate case, whether conduct

  was extreme and outrageous can be decided as a matter of law. Bradley, 720 N.E.2d at 753.

         Here, drawing all reasonable inferences in favor of Chivers, a reasonable finder of fact could

  conclude that Gillespie’s pursuit of Chivers was beyond the bounds of decency and went beyond

  a mere annoyance, triviality, or inconsiderate act that a seventeen year old should be expected to be

  hardened to. To Chivers, the dilemma created by her teacher’s inappropriate communications and

  attention caused her great distress, to the point of leaving her school completely and talking about

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  suicide. Because reasonable persons may differ on the questions of whether Gillespie’s conduct was

  extreme and outrageous, he is not entitled to summary judgment on Chivers’s claim for intentional

  infliction of emotional distress. However, Wellman and the School once again prevail as their

  response, which included contacting outside law enforcement and reprimanding Gillespie within a

  relatively short time frame, did not go beyond all possible bounds of decency so as to be regarded

  as atrocious and utterly intolerable in a civilized community.



  3.       Loss of Services

           Mr. Chivers has sued the Defendants for the loss of services, society, and companionship of

  his daughter that he suffered when she moved out his residence and out of Indiana to live with her

  sister.3 He argues that he suffered a total loss of his daughter’s “physical presence, and their

  emotional relationship was permanently impacted.” (DE 72, Resp. at 25.) The Defendants contend

  that this claim fails because it is derivative to the other failed claims.

           Because no host tort remains against the School and Wellman, Mr. Chivers’s loss of services

  claim also fails against these Defendants. See, e.g., Branham v. Celadon Trucking Servs., Inc., 744

  N.E.2d 514, 525 (Ind. Ct. App. 2001) (dismissing loss of consortium claim where host torts were

  dismissed on summary judgment). He may proceed to trial, however, on his loss of services claim

  against Gillepsie.



                                        CONCLUSION AND ORDER


           3
             In the Amended Complaint, Mr. Chivers actually refers to his claim as one for loss of consortium. The
  allegations, however, reveal that the appropriate claim is for loss of services. See Forte v. Connerwood Healthcare,
  Inc., 745 F.2d 796, 801 & n.8 (Ind. 2001) (noting the differences between claim for loss of services and loss of
  consortium).

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         For the foregoing reasons, the Motion for Summary Judgment [DE 61] filed by the School

  and Wellman is GRANTED and all claims against them are dismissed. Gillespie’s Motion to Strike

  [DE 77] is DENIED and his Motion for Summary Judgment [DE 63] is also DENIED.

         The following claims remain pending: (1) Plaintiff Alicia Michelle Chivers’s § 1983 claim

  against Defendant Gillespie:(2) Plaintiff Alicia Michelle Chivers’s intentional infliction of emotion

  distress claim against Defendant Gillespie; and (3) Plaintiff Craig Chivers’s loss of services claim

  against Defendant Gillespie.

         The Court confirms the status conference scheduled for Monday, March 27, 2006, at 9:00

  a.m.

         SO ORDERED on March 23, 2006.



                                                        s/ Theresa L. Springmann
                                                        THERESA L. SPRINGMANN
                                                        UNITED STATES DISTRICT COURT




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